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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

 NICOLE FLOYD,

    Plaintiff,                                     CASE NO.:

 -VS-

 SANTANDER CONSUMER USA, INC.,

    Defendant.
                                       /

                                      COMPLAINT

        COMES NOW Plaintiff, NICOLE FLOYD (hereinafter “Plaintiff”), by and

 through the undersigned counsel, and sues Defendant, SANTANDER CONSUMER

 USA, INC. (hereinafter “Defendant”), and in support thereof respectfully alleges

 violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)

 and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

 (“FCCPA”).

                                    INTRODUCTION

        1.       The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and prevent abusive “robo-calls.”

        2.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably




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 intended to give telephone subscribers another option: telling the auto-dialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

                                 JURISDICTION AND VENUE


         3.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

         4.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

         5.      The alleged violations described herein occurred in Seminole County,

 Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

 as it is the judicial district in which a substantial part of the events or omissions giving

 rise to this action occurred.

                                 FACTUAL ALLEGATIONS

         6.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

 Seminole County, Florida

         7.      Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

         8.      Plaintiff is an “alleged debtor.”




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        9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

        10.     Defendant is a corporation which was formed in Illinois with its principal

 place of business located at 1601 Elm Street, Suite 800, Dallas, Texas 75201, and which

 conducts business in the State of Florida through its registered agent, CT Corporation

 System located at 1200 South Pine Island Road, Plantation, Florida 33324.

        11.     The debt that is the subject matter of this Complaint is a “consumer debt”

 as defined by Florida Statute §559.55(6).

        12.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).

        13.     Defendant has called Plaintiff on Plaintiff’s cellular telephone hundreds of

 times in an attempt to collect a debt.

        14.     Defendant attempted to collect an alleged debt from Plaintiff by this

 campaign of telephone calls.

        15.     Some or all of the calls the Defendant made to Plaintiff’s cellular

 telephone number were made using an “automatic telephone dialing system” which has

 the capacity to store or produce telephone numbers to be called, using a random or

 sequential number generator (including but not limited to a predictive dialer) or an

 artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “auto-dialer calls”).

        16.     Plaintiff will testify that she knew it was an auto-dialer because of the vast

 number of calls she received and because she heard a pause when she answered her



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 phone before a voice came on the line, a commonly known indicator of the use of an

 ATDS.

            17.   Plaintiff also received pre-recorded messages from Defendant.

            18.   Plaintiff believes the calls were made using equipment which has the

 capacity to store numbers to be called and to dial such numbers automatically.

            19.   Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (386) ***-1074, and was the called party and recipient of Defendant’s calls.

            20.   Defendant placed an exorbitant number of automated calls to Plaintiff’s

 cellular telephone (386) ***-1074 in an attempt to collect on an auto loan.

            21.   On several occasions in 2019 Plaintiff has instructed Defendant’s agent(s)

 to stop calling her cellular telephone.

            22.   In or about March of 2019, Plaintiff communicated with Defendant from

 her aforementioned cellular telephone number and instructed Defendant’s agent to cease

 calling.

            23.   Plaintiff also instructed Defendant via its online payment portal to cease

 calling.

            24.   Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

 cellular telephone in this case.

            25.   Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

 this case, with no way for the consumer, Plaintiff, or Defendant to remove the number.



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         26.     Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff despite these individuals explaining to Defendant they wish for

 the calls to stop.

         27.     Defendant has numerous other federal lawsuits pending against it alleging

 similar violations as stated in this Complaint.

         28.     Defendant has numerous complaints across the country against it asserting

 that its automatic telephone dialing system continues to call despite requested to stop.

         29.     Defendant has had numerous complaints from consumers across the

 country against it asking to not be called; however, Defendant continues to call the

 consumers.

         30.     Not a single call placed by Defendant to Plaintiff were placed for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         31.     Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         32.     From each and every call placed without consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

 intrusion upon her right of seclusion.

         33.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy.

         34.     Plaintiff was also affected in a personal and individualized way by stress,

 anger, frustration and aggravation.




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         35.     These unwanted and harassing calls came at a rate of multiple calls per

 day, and on back-to-back days, despite Plaintiff requesting that the calls stop.

         36.     The unwanted calls created a disruption in Plaintiff’s personal life as well

 as in her professional endeavors.

                                           COUNT I
                                    (Violation of the TCPA)

         37.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 thirty-six (36) as if fully set forth herein.

         38.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

 for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

 notified Defendant that she wished for the calls to stop.

         39.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or pre-recorded or

 artificial voice without Plaintiff’s prior express consent in violation of federal law,

 including 47 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against SANTANDER CONSUMER USA, INC., for statutory

 damages, punitive damages, actual damages, treble damages, enjoinder from further

 violations of these parts and any other such relief the court may deem just and proper.

                                           COUNT II
                                   (Violation of the FCCPA)

         40.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 thirty-six (36) as if fully set forth herein.



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           41.   At all times relevant to this action Defendant is subject to and must abide

 by the laws of the State of Florida, including Florida Statute § 559.72.

           42.   Defendant has violated Florida Statute § 559.72(7) by willfully

 communicating with the debtor or any member of his or her family with such frequency

 as can reasonably be expected to harass the debtor or his or her family.

           43.   Defendant called Plaintiff at an unusually excessive rate despite Plaintiff

 repeatedly requesting that the calls stop.

           44.   Defendant’s actions have directly and proximately resulted in Plaintiff’s

 prior and continuous sustaining of damages as described by Florida Statute § 559.77.

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against SANTANDER CONSUMER USA, INC., for statutory

 damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder from

 further violations of these parts and any other such relief the court may deem just and

 proper.

                                               Respectfully submitted,

                                                  /s/Frank H. Kerney, III, Esquire
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